Case 2:04-cr-20270-BBD Document 25 Filed 04/25/05 Page 1 of 2 Page|D 20¢7

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE U§ {i.r`i'§‘ §§ -;§*i iii t
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WI`J \"_)‘?~ i`r~.i i'éJr;v.r' r'rq

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UN|TED STATES OF AN|ER|CA
P|aintiff

VS.
CR. NO. 04-20270-[)

ANDRES RAYO-MALDONADO

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYlNG PER|OD OF EXCLUDABLE DELA‘(
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel for the
defendant requested a continuance of the |Viay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a report

date ofThursda§¢l June 30, 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federa|
Bui|ding, i\/iemphis, TN.

 

The period from |Viay 13, 2005 through Ju|y15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(i\/) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

ir is so oRDERED this 25 day oprrii, 2005.

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NlcE B. ooNALD
0 ITED sTATEs DisTRlcT JUDGE

"'…s document entered on the docket heat in c?p|'ance L/
tii'n Hu|e 55 and/or 32(b) FFtCri'-‘ on j ‘1:2“§2 J,

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20270 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

